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 1                           UNITED STATES DISTRICT IN THE
 2                           NORTHERN DISTRICT OF ILLINOIS

 3
 4    UNION ASSET MANAGEMENT                            Case No.: 1:19-cv-01339
      HOLDING AG AND SJUNDE AP­                         Honorable Robert M. Dow, Jr.
 5
      FONDEN,
 6    Individually and on Behalf of All Others
 7    Similarly Situated,
 8
                          Plaintiffs,                              FILED TG
          -against-                                              8/11/2020
 9                                                           Thomas G. Bruton
10    KRAFT HEINZ COMPANY et.al.                        CLERK, U.S. DISTRICT COURT
                   Defendants,
11
12
13
14
15
16      MICHAEL HARTLEIB, SHAREHOLDER AND CONCERNED CITIZEN,
17         MOTION FOR ACCEPTANCE OF AMICUS CURIAE BRIEF IN
       OPPOSSITION TO THE APPOINTMENT OF SEVERAL FIRMS SEEKING
18                               LEAD
19
20
21
                                           STATEMENT
22
23
      Your Honor's, Michael Hartleib respectfully seeks leave of the Court, allowing the
24
      filing of his Amicus Brief to inform the Court of troubling abuse of process by several
25
      Firm's seeking lead or co-lead Counsel in this case. Details of which, are outlined in
26
      the Amicus Brief and exhibits. Whereby, providing information germane to the Courts
27
28
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 1    appointment of lead and co-lead Counsel. The Court must know of their chicanery in
 2    order to protect the public interest, Heinz Kraft and its shareholders derivatively.   It
 J    appears that these Firms have failed to inform the Court of their incestuous
 4    relationships, ongoing,litigation, and recent criminal charges against one of their
 5    attorney's. This not surprising considering their contemptuous actions before the
 6    Kansas Courts. Their candor or lack thereof should be of paramount concern to this
 7     and other Courts.
 8

 9

10                                           CONCLT]SION
ll
t2     Your Honor, for all of the reasons set forth in the Amicus Brief, I hereby request the
13     Court grant leave to file said brief last minute.
t4
l5
l6
1,7    Michael Hartleib
       (646) 4e4-se0r
18
         hartleib@ gmail. com
       rnJ
t9     27020 Alicia Parkway Suite G
       Laguna Niguel, CA92677
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                                               No. 117,139

              IN THE COIJRT OF APPEALS OF THE STATE OF KTNSAS

                    Moxtcn Ross-Wtt unMs, derivatively, on behalf of
                            $rnmr Nrxrm Conpon*uox,
                              Plain tiffiAppel I e el C ross - appe I lo*,

                                                       v.

                                   RougRr R. BEhrNmT, ot al.,

                                                     and

                   SPRINT NH(TEL C0RP0RATION, a Kansas                         corporatio&
                                       DefendanxlAppellees,

                                       Mrcruem HARTTETB,
                             Obj e c ta r /A pp el lant / C r o s s - app e I le e .



                                SYLLABUS BY THE COINIT

l.
        Although class actions and derivative actions are both typs$ ofrepresentative
litigation and involve similarprocedures, they are s*parato and distinct causcs of action.


7

        Whilc a shareholder class action is brought against a corporarion by a
represcntative acting on behalf of a particular gruup of eharehotrdem, a sharcholder
derivative action is brought on behalf af a corporation by a repr€$entative to enforce a
right that the corporation has failed ro enforce.


3.

        In Kansas, derivative actions are controlled by K.s.A. 201? supp. 60-223a.
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 4.

       A derivative action may be commencod by "one or more shareholders or members
of a corpcration oran unincorporated association" who *fairly and adcquately represent
 the interests of shareholders or members who are similarly situated in enforcing the right
 of the corporation or associatior." K.S.A. 2017          Supp   .   60-223a(a,).



 5.

          Petitions filed in derivative actions   arre   to be verifiad and thcy must asscrt "that the
plaintiffwas s sharcholder or member       at the    tims of the usnsaction compinined of, or that
the plaintiffs sharc or membership later devolvcd on it by operation of law.n K.S.A. 201 7

$upp. 6e223a(b)(1).


6.

          The verified petition must'tstat* with particularity" ttre efforts rnade by the
plaintiff"to sbtain thc desired action fiom the directors or comparable authority and, if
necessary, ltom the sharehslders or mCImbersnnas well as "thc reasons tbr not obtaining

the action or not making the efforr." K.s.A. 20I? supp.60-223a{bX3XA) and (B),


T.

          Similar to class actions, dcrivative ections may only be semled, voluntarily
dismissed, orcomprornised with court appmval. Prior to giving such approval, proper
notice must be given to shareholders of a corporation or members of an unincorporated
association in order to protect tJreir intererts in theproceedinge. K.S.A. 2017 $upp. 60-
223a{d).


8.

          Standing is a componcnt of subject matterjurisdiction, To haye standing to bring
an action, a party must have a sufficient personal stake in the outcome of a case so as to
justiff   court action to resolve a disputed maser. The existcnce of subject matter
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jurisdietion and standing are questions of law over which appellate courts have unlimited
review.


9.

         The plain and unarnbiguous language of K.S.A. 2017 $upp.60-223apermits a
shareholdsr of a corporation ora member of an unincorporated association ro bring a
derivative action so long as he or she was a shareholdsr or msmbcr at the time of the
traneaction complained of in the verified petition. The statute does not require that the
plaintiffcontinue to be a shareholdcr cr membcr after the filing of a dcrivative action.


t0.
         Kansas appellate cotuts review a district court*s approval of a senlement in a

derivative action under an abuse of discretion standard.


ll.
         In order to comply with its duties under K,S.A. 2017 Supp. 60-223a(d), a district
court must indepcndently ecrutinize a proporcd scttlement of a derivative action-as well
as the surrounding circumstances that led to the       scttlement-to dstermiue whcther it is
fair snd rsasonable. The disri$ court must also dstErmins whether the settlerflent has
bcen induced by fraud or collusion"


t2.
         District courtr are not reqtrired to use a specific tist of factors in scrutinizing a
proposed settlement. Rather, they are to perform a logical and independent analysis of atl

of the relevant circurnstances affecting    a   particular ssfiiement
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13.

         In evaluating     a   proposed settlement in a derivative action, the disrict coufi should
place special weight on the net bcnefit-including pecuniary and non-pecuniary

el   ements-to   th e   corporati on or un i ncorporated associ ati on.



t4.
         A reviewing court must be particularly diligent in exercising its duty to scrutinize
a praposed settlement in a derivative action that includes an award         of attomoy fees but
does not include rnonetary relief for the corporation and its shareholders or the

unincorporated association and its membarc.


r5.
         In Kansas, courts do not have the equitable power to award attorney fees and
expenses. Instead, the allotnrance of asorney feecsnd expenses is'a.matter uf pubtic
policy to be dEtermined by the Legislature. Accordingly, courts do not have the powsr to
award attorncy t'ees and €xpenses in the abssnoe of statutory authority or au agr€ement by

the parties.


16.

         Unlike K.S.A. 2017 Supp.60-223(h)*which allows for the award of reasonable
attorney fees in class actions.-there is no provision in K,S.A. 2017 $upp.60-223a,
allowing courts to       arryard attorney fees   in derivative actions,


17.

         In a derivativc action in which the parties agrce to an award of attorney fees and
sxpens€s, the district court must also deteffnine the reasonableness of the requested

attorncy fees in light of the eight factors set forth in Kansas Ruler of Professional
Conduct 1.5(a) (2018 Kan. S. Ct. R. 294).



                                                      4
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18.

         Appellate courts rcview both the disrict caurt's determination of the
reasonableness of requested attomey fecs and expsnses as well as the actual award                         of
attomey fees and expsnses under an abuse of discrotion standard.


19.

         Although both disrict coufis and appellate courts are cxpsrts on the
reasonableness of attorney fees, an award of attorney fees by the district court                     will not be
set aside on appeal whcn it is authorized by law and supported by rubstantial competent

evidence.


20.
         The purpose of a rnotion to alter or amend under K.S.A. 2017 Supp. 6&259($ is

to allow a disuict court the opportunity to corrcct a prior effor. It is not an opportunity for
a parfy to present additional arguments or to                 offer rdditional evidence that the moving
party could hava*with rEasonable diligence-prcs€nted prior to the entry of the final
order.


         Appeal     fum   Johnson District Courti JAMEs F. VaNo, judgc. Opinion filed April 27,2018.

Aflirmed.


         Michaet    n*ml,objector/appcl          latrt prc ee/cross-appcl tee.



         Thonas J. Herslrcwe and finr E, Dollar, af Dollar, Bunrs & Becker, L.C., of Kansas Citg
Missoud, utd &rutt D, Stecker       and, Robert   B, Weiser, of the Wciscr Law Firn, P.C., of Buwyn,
Pennsylvania, for plaintil?appellce,/ooss.appellant Monica Ross-Willirms.


         Jeanifer   L. Berhorst,   Sarah fr,,   Iloldmqer,*d     W.   Petry Srandt, of Bryan Cave LLP, of Kansns
City, Miesouri, for defendants/rppcllccs RobertR, Bcnnctt, Keith J, Bane, Gordon M. Bethunc, Frrnk M.
Drcndel, Larqy C. Glasscock, James        ll.   Hancn, Jr.. Danisl R. Hessc. V. Jsner Hillr lwine O. Hockaday,
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Ir., Frank lanna" William E. Kennard, Linda K. Lorirner, Sven-Chrisrcr Nihson, William R. Nuti, Rodney
ONeil, andWilliam H. Swanson,


          Mark   W,   ldcGrory, of Erise IP, P.A., of Overlrnd Bu'k, ,$coft D. fnusolliof $kadden, Arps, Slate,
Meagher & Flom LLP, of New Yorlc, New York, and Jeu*ess            E   Pcrlcer, of &c seme firm of Wilmington,
Dclaware, for dcfcndant appcllccs Mark E, Angclino, lY'illium O. Arendt, Timothy        E Kclly, Paul N,
Salsh,   Bury J. West, aud rominal defendant Spint Nextel Corporation


Before Ap.noro-BURcE& C.J., Sr*NoRmcE and BRuNs, JJ.


          BRIrNs,J.: This is a derivative action fitcd in Johnson County Disuict Court by
Monica Ross-Wiltiams on behatf of thc Sprint Nextel Corporalion. The acrion arises out
of the 2005 mergerof the formcr $print Corpomtion and Ncxtel Comrnunications. [n her
verifiedpetition, Ross-Williams aeserted clairns for monetary darnages as wcll                     as   for
oott-tlloostary relief against sever"al officers and directors of the Sprint Nextel
Corporation. In addition, the vsrified petition named the coryoration as a nominal
defendart. Thrce other shareholders filed similar derivative actions on behalf of ths
Sprint Nextel Corporation.


          Each of the derivative action$ was stayed pending the resolution of a relatsd

shareholder class action lawsuit tited in the UnitEd States Distriot Court for the District                   of
Kansas. While the derivative actions v/ere stnyed, the Sofftsank Group                   C*p. (SoftSank)
and the Sprint Nextel Corporation merged to form a nalry corporation-elso known as the

Sprint Corporation-in Delaware. As a result, the Sprint Nextel Corporation becarne a
wholly ownfd subsidiary of the ne1i, corporation.


         After the federal class action settled, the parties to ths four derivative actions
cntcrcd into a comprchcnsivc proposcd scttlEmcnt agrccmcnt. Unlikc thc scttlcmcnt in thc
fueral    Elass actioru the pmposed settlement           in the derivative actions did not pruvide for
any monetary relief to the corporation or its shareholders. Rather, the proposed settlement
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included no[-monetary relief in the fornn of various changes in the gov€rnance $tructure
and internal controls of the newly formed $print Corporation, The proposed settlernent

also included $4.25 million in attomey fecs and expenscs as well as $5,000 incentive

awards for each of the individual plaintiffs in the derivative actions.


       After ttre disrict s,ourt prelirninarily approved the proposed settlement agreement,
$e parties provided notice to all ownsrs of record-as well           as to the   beneficial ownsrc-
of sommon stock of the new Sprint Corporation. In rosponss to th€ notice, one of the
shareholders-Michael Hartleib-filed a timely objection to both the substantive ponions
of the proposed settlement   as   well   as to thc request   for attomey fees and expense$.
Ultimately, the district court approved the proposed settlement but arnardsd M50,000 in
attorney fees and expenses instead of &e amount requested. fire disfict courr also
approved &e incentive awards for eaeh of the plaintiffs in the dsrivarive actions.

Additionally, the district court denied Hartleib's r6que$t for an incentive award or
sxpense reimbursement,



       In his capacity as an objector, Hafileib timely appoals from the district court's
approval of the settlemcnt as well as from the award of attomey fees and expenses.
Moteover, Ross-Williams cross-appeals tke district court's decision to reduce the amount
of the atforncy fees and expenses frorn tho amount requested          as   part of the proposed
sefilement agreement. After reviewing the record and considering tho legat arguments
raised on appeal, we conclude that the disuict eourt did not abuse its discretion in
approving thc settlement sr in awarding attomey fees and expsnses. Finally, although we
find that the objector performed a valuable oorvics in this case, wB conclude that neither
the district court nor this court has the authority to grant Hartleib's request for an
incentive award or expense reimbursement, Thus, we affrnn.
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                               Fecruar   .qt*ru PnocEDt IRAL   HIsroRy

Merger of Sprint Corporation andNwtel Communicdtiotts


            ln December 2004, the Sprint Corporation, then organized under the laws of the
Sate of Kansas, announced that it would acquire Nextel Cornmunications, Inc., which
was organized under ths laws of the State of Delaware. On August 12, 2005, the

fiansaction-which was publicized ae a nmerger of equals"*was cornpleted. On the
same day, the Sprint Corporation filed doruments with the Kansas Secretary of State's

office to officially change its name to the sprint Nextel Corporation.


            Beeause Bre purchase price of $37.8 billion paid by the Sprint Corporation was

$15.6 billion morc than the fair rnarket value of the assets of lr{extet Communications, the
Sprint Nextel Corporation booked the difference as goodwilt" Evidentty, tlrc purchase
price reflected the anticipated bsnefit of integrnting the wirslcss networks of the two

companies. However, subsequent efforts to integate the tr*ro technologies proved to be
unsuccessful. As a result, the Sprint Nextel Corpomtion began suffering substantial

financial losses.


            On January 18,2CI08, the Sprint Nextel Corporation publicly disslosed that it
suffered a nct loss of 683,000 prepaid subsoribers during the fsurth quarter of 200?.

Then, on February 28, 2008, the Sprint Nextel Corporation publicly disclcsed that      it
would be recording a non-cash goodwill impairmcnt charge of $29.? billion for thc fourth
quarter af 20CI7. The next day, the corporation filed irs Annual Report for the 20tI? fiscal
ysar. Thereportrevealed*among othorthings-the significant loss of subscriberu as
well   effofls made to extend credit to subscribers that wsre apparently inconsistent with
       as

previous statements made to shareholders.
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Commencement af Litigation in State and Federal Court


       On March 10, 2009, a sesrities class action was filed on behalf of shareholders
against the $print Ncxtel Corporation in the United States District Coun for the District
of Kansas. See Bennett v, Sprint Nextel Corporation,      Case No.   09-CV-2122-[FM-OOB,
One year later, Robert B. Weiser of the Wciser Law       Firm-at    ths time located in lVayne,
Pcnnsylvania-sent a pre-suit demand lettcr on behalf of Ross-Williams to Daniel R.
Hesse, President and Chief Executive Officer of the $print Nextel Corporntion, punsuant

to K.S.A. 60-223a.In the letter, Weiser allaged that cefiain officem and directors of the
Sprint Nextcl Corporation    had, breached   their fidtrciary duties of loyalty and good faith in
various wsys, Weiser demanded that the Board of Directors of the SprintNmtel
Corporation eonduct an independent inteinal investigation into possible violations of the
law and commence a civil action against the corporate officers and diroctors to recovor
the dam*ges allegedly suffered by thc cotporation.


       In a letter dated Novernber 15, 201S, the Sprint Nextel Corporation*through its
legal counsel-notified Weiser that the Board of Directors had unanirnously voted to
reject the demand. A few months later, on February 25,2A11, Ross-Williams filed this
derivative action on behalf of the Sprint Nextel Corporatlon against scveral officers and
directors of the eorporation in Johnson County District Court. Atthough Ross-Williams'
asorneys calted their initial pleading a "VerifiEd Shareholder Derivative Complaint," we
will refer to it as a verified petition in dris opinion to be consistent with   Kansas law" $ce
K.S.A. 2017 Supp. 60-223e(b). In thE vcrified pctition, counsel for Ross-Williams
asserted clairns for breach of fiduciary duty, unjust auichmen! abuse of control, and

wasts of corporate a6sets. The vcrifiod   p*ition   sought both monetary damages and
nonmonetary relief in the form of corporate governance reforms. Furthermorg counsel
for Ross-Williarns asserted a claim   f"or reaeonable attonrey fees and experses.




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        Ihree similar derivative actions arising out of events surounding the merger of
&e Sprint Corporation and Nextel Communications were also filed in Johnson County
Disrifi   Court during 2AAg and20l0, Se* Murphy v. Forsee,Case No. 09 CV 3132 Price
v. Forsee, Case No. l1 CV 3257; Randolph v. Farsee, Case Nos. l0 CV 6261 and 12 CV
4447."1\e Murphy case was rcruoved to the Unlficd States District Court of Kansas
shortly affer it was iiled. See Murphy v, Forsee, case No. 09-CV-2242-EFM-KMH.
Although thc four derivative action$ wsro nevsr offrcially consolidatd all of ttretn woutd
eventualiy becorne part of the comprehensive settlelrrent approved by the disfict court in

this case,


        Befsre the dsfendants fited responsive pleadings or conrmerced discovery, the
paries agrced to stay each of the derivative actions until completion of discovery in the
federal securities class action. Accordingly, no discovery was complered and no
substantive motions were filed in the dcrivative actions prior ta the parties entering into
the proposed settlcment agreement that is the subject of this appeal. RatheE as a result      of
an agreement betwEon the parties, the attomeys reprosenting the plaintiffs in the

derivative action were given accoss to the diocovery in Bafinett v, Sprint N*l;te!
Cotporatior,   Case No. 09-CV-2122-EFM-OHB. According to counsel representing the

various plaintiffs in the dorivativp actions,.they received absut 460,000 docurnents*
containing approrimately 2.5 million        pags-as   a   result of the agreement. Of these
documen8, the attomeys or their ernployeer reviewed and coded about 103,600
documents-or spproximately        22.5o/a   of the discovery documenB produced.


       On December I   l,   2012, plaintiffs'counrel sent a settlement demand letter to
counsel for the defendants sefiing forth-among other things-claimed deficienoies in
the governance policies and intemal conhols of the Sprint Nextel Corporation that werc

identified during the document rsview. The, lettsr proposed several corporatc governance
reforms to help address the allcged deficienciee" Moreover, it appears that attorneys



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representing the plaintiffs began drafting an arnended verified petition in lune 2013, but     it
was never filed with the district courh


Merger af SoftBank and Sprint Nextel Carporatian

       On June 25,2A13, the sharehold*s of the Sprint Nextel Corporadon voted to

approv€ a msrgsr in rvhich Sofftsank acquired around 70% of the corporation's stock. The

msrger-completed on July 10, 20l3*involved ssveral traneactions and tho filing          of
mtmerous documsnts with the Securities and Exchange Commission as well as with the
State of Delaware and the $tate of Kansas" A uew coryoration-whichultimately became

known as the Sprint Corporation-was organized in Delaruare. [n addition, the Sprint
Nextel Corporatiou ftled dacuments with the Kansas Secretary of State changing its name
to Sprint Communications, Inc.


       Accordingly, os a result of the mrrgor with Sofftsank, Sprint Communications,
Inc. f/k/a the Sprint Nexml Corporation became      a   wholty owned subsidiary of the newly
formed Sprint Corporation of Dslqware" In addition, according to public documents filed
with the Securities and Exchange Commission, the newly formed Sprint Corporation
becarne the osuccessor registranf'to the $printNextel Corporation undet Rule 129-3        of
the Securities Exchange Act   of   1934. Furthermore, as part of the mcrger transaction, the

fonner shareholders of the Sprint Nextel Corporation who did not sell their stock for eash
received stock in the new $print Corporation in exchange.


Mediation and Proposed Settlement ofDertva$ve Actions


       On July 8, 2014, the parties to thc four derivative actions participated in their first
forrnal mediation session. Layn R. Phillips, a former judge frorn the United States District
Court fsr the fistrict of Oklahmra, co'nducted the msdiation sessions in New York City,
Apparently, former Judge Phillips also mediated the related sccurities class action filed in


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federal court, u&ich settled for   $l3l million in ?tlt5.   Although thE derivative actions did
not settle at the first mediation session, a general structure for settlement negotiation$ was
established.


       Subsequently, ettorneys representing the plaintiffs in the derivative actions
retained James Tompkins,     Ph.D.-a Professor of Finance at Kennesaw $tate University
in Georgia-as an expeftwiuress to assist them in the area of corporate gwortrance
reform. On March 9,2015, formerJudge Phillips conducted a second mediation scssion
in the derivative actions. Once again, the partics wcrc unable to reach an agfcement but
they were able to make additional prcgress tolvards settlemenl Over the next several

months, the parties evidcntly continued to discuss settlement"


       At a third mediation session conducted by former ludge Fhillips on Dccember I l,
2O15, the parties were   finally able to reach an agreement on the rnaterial terms of a
comprehensive eettlement of the four derivarive actions. Specifically, the parties agreed

on several reforms in the corporate governanse and internal control polices to be adoptcd
by the new Sprint Corporxion. Significantly, the proposed settlement agreement did not
include a clawback provision or any monetary rscov€ry from the dsfendants. The
proposed seslement agresment didn however, include $4,25 million in a$omey fees and

expenses to be paid by the $print Corporation to cotrnsel for the     plaintiffs-subject to
court approval-as well as incentive fees in the amount of $5,000 for each of thc
individual plaintiffs.


       The parties executed a Stipulation and Agreement of Settlemcnt on February 22,

2016, which set forth the terms of the proposcd settlement and &e procedures for
implernenting the settlement if approved by the district court. In addition, the Sripulation
prwided that the Weiser Law Firm would serve        as ths receiving agent   of any attorney
fecs and expenses eppoved by the districtconrt, Attached as Exhibit A to the Stipulation

and Agreement of $ettlcment was a document entitled "Corporate Ooverna,nco Refonns,',

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which set out thc parties'agreement as to the refonns the $print Corporation would
implcment in its gencral corporate govem&nce and internal confiols. The proposed
reforms fell under five zubheadings:   (t)   Oeneral Corporarc Govcrnance, (2) Mergers         &
Acquisitions Activity, (3) Audit Committee, (4) $harra Repurchase Policy, and (5) Other.


       According to Exhibit A, the Board of Directors of the Sprint Corporation agreed to

"adopt rerolutions, amend comrnittee charters, and take other stsps nscsssary to
implernent the reforms" within 30 days following the ontry of an order by the      disfict
court approving the proposed settlement. In addition, the exhibit explaiaed that the
rsforms woutd I'temain in effect for three years following the date of the agreemant to the
proposals by [the Sprint Coqporation]." Notwithstanding, &e exhibit also indicated that

the reforms could be modified or terminated by the Sprint Corporation's Board       of
Directors "[aJfter tw"o years from the date of the agreemcnt" so long as the Board
provided "notice [of &e modification or termination] on the Invcstor Retations page       of
Sprint,com."


Preliminaty Approval of settlenrcnt and Notice to shareholders


       On February 25,2016,     anctly five ymrs aftsr Ross-Williams    had   hitially filed
her verified petition in this derivative action, counsel for Ross-Williams filed in the

Johnson County   Disrict Court a motion seeking preliminary approval of the proposed
comprehensive settlement of the four derivative aciions. A copy of the executed
Stipulation and Agreement of,Settlement was altached to thc motion along with sevsrel
otlrer documents. Or March 23,2A16, the district court issued an order granting
preliminary approval to the proposed settlement, subject to firrttrer consideration at a final
ssttlement hearing to bo held on May 26,2016. Moreovsr, the disuict coufi set a deadline
for the filing of objections to the proposed settlement and required thatthe parties give
noticc of the proposed settl€ment to all record and benefieial ourners of common stock         of
the $print Corporation as of February 22,2016.


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      On April 6, 2016, Susan Z.   Halter-in her capacity    as   Vice President, Legal of the

Sprint Corporation-filed a Fonn 8-K Current Report with the Securities and Exchange
Commission. The report included the Notice of Pendency and Proposed Sefttemcnt          of
$tockholder's Actions as well as a brief summary af the proposed settlcment. On the
same day, the Sprint Corporation posted thsForm 8-K Current Report on thc Investor

Relations page of its website. In addition, thc $ummary Notice was published in

Inveslor's.8u.gness Daityon April I1,2016. The fotlowing day, the Sprint Corporrtion

also added a reference to the settlement to the News & Events section of the Invsstor

tala*bns pags of its webeite.


Motionfor Final Approval of Settlement and Abiection

       On May 5,2016, counsel for Ross-Williams fited a motion for final approval        of
the proposed settlemont in district court. At thc same time, Robert B. Weiser filed a

Declaration in   Suprt   of Plaintiffs Motion for Final Approval of Settl€tnctrt and Award
of Attorneys'Fees and Reimbrusemsnt. Weiser attached       a Declaration prepared by Dr.

Tompkins in which he stated that he had reviewed the corporate governance reforms
agreed upon by the parties as part of the proposed settleinent and believed them to be

"significant and vaiuable." In Dr" Tompkins'opinion, thc proposed reforms "promote
important corporrete governance improvements designcd to snsure that the 'right' people
at the Board lcvel are engaged in superior governulce proces$es. As a result, moving

forward, deEisions such as the 2005 Ncxtel merger that desfoyed significant shareholder
value arc much less likely [o oocur.nt


       Weiser also attachcd a Declaration signed by former Judge Phillips in support         of
thc motion for linal approval of the scttlement.In his Dsclaration, hc reviewed his role as
                                                    I'the settlernent was carehtlly rcached
rnediator in the derivative actions and stated that
through hard fougtrt, arm's-length negotiations conducted by skilled counsel in good
faith.u He also noted that the attorneys involved in the mediation process were from

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respected law firms and were experienced in handling complex litigation. Moreovern

fonner Judge Phillips rendered the opinion that he believed an award of $4,250,000 in
attomey fees and expenses in this case would be fair, just, and reasonable.


        In addition, Breff D. SteckEr*also   a   partrrer in the Weiser Law   Finn-filed   a

Declaration in support of the requested award of attorney fees and cxpensss. In his
Declamtion, Stecker roprescnted to the district couft that his firm had performed legal
research, prepared the pre-suit deman{ dra$ed the verified pctition, reviewed documonts,

proparcd a mttlcmmt denrand, draftad rnediation rtEtern'ents, attended each of the
mediation sessions, andpoformed otherlegalwork on behalf of Ross-rvYilliams.
According to Stecker, attornoys and staffat his law firm worked a total of 7,646.25
hours-with an allegcd lodestar amount af $2,462,583.75-on this case. The Declaration
filed by $tsoker also stated that the Weiser Law Firm had incured $42,488.02 in
unreimbursed expenses.


        George C. Aguilar, apartner of ths law fimr of Robbins Anoyo LLP of San
Diegoo California, also filsd a Declaration asserting that his law firm   wo*ed a total of
7,61Q   hours-*vi& an alleged lodsstaramountof 92,257,342.50*-onChffyl Randolphh
case. Aguilar also claimed that his firm incurred $120,067.93 in unreimbursed expenses.

Similarly, Alfrcd O. Yatcs, Jr., uthose office is located in Pineburgh, Pennsylvania, fited    a

Declaration asserting that his firm worked a totnl of 1,588.95 hours-with an allcged
lodestar amount of $870,103-in representing Kent D. Murphy. Yates also claimed
$33,956.87 in unreirnbursed expense$. Finally, Willem F, Jonckheer, from Schubert
Jonckheer & Kolbe LLP of San Francisco, Califonria, submitted a Declaration asserting
that his firm worked a total of, 1,051,? hours-with an alleged lodeetil alnount      of
$652,032-representing Connie Price. Jonckheff also claimed that tris tirm incured
$68,785.08 in urcimbursed cxpenses,




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        On May 12,20l,$, Michael Hartleib oflagunaNiguel, California-who formally
owned stock in the Sprint Nextel Corporation and currently owns stock in the Sprint
Corporation-tiled      a pro se objection to the proposed settlement, award   of attomey fees,
and reimbursement of expcnses. No other objections were filed,


Final llearing and Sabsequent Filings


        Thc district court held a linal hEaring pursuant to K.S.A. 2015 Supp. 6&223a(d)
on May 26,2016.      dt the hearing, the disrict coufi heard   arguments frorn counsel for the
partics in support of the motion to approvc the propased sefrlement. Ths district court
also heord the arguments presented by Hartleib in opposition to the firotion to approve the
proposed $ettlemEnt and to the request for an award of atomry fees and expeilses. At the

conclusion of the hearing the district court granted tlre panies and the objector leave to
file supplemcntal briefs and took the rnatter under advisement,


        On June 24,2A16, counsel for Ross-Williams filed a supplemental brief in support
of the roquest for   an award of attorncy fees and reimbursrment     of expenses. At somc
point, counsel also submitted billing records to the district court for an in camera
inspection. We note, however, that the billing records submitted to the disbict court are
not part of the record on appeal. In addition, we note that no request has been made     eo   file
the billing records*either under seal or othcrwise-with the Clerk of the Appellate
Court


        On August 8, 2016, Hartleib filed a supplemcntal brief in rupport of his objection
to the attorney fees and cxpsnses portion of the settlement agreemsnt, In response,
gsrrnssl for Ross-\il'illiams filed a supplemental reply brief on
                                                                  August 15, 2016, and a
response to additional authoriry submitted by Hartleih on A,ugust 24,2016. Two days

later, counsel for the defendants sent a letter to the disrict court euggesring that it should

approve the proposed settlement regardless of how it ruled on the request for attorney


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fees and expensEs. On August29,20l6, Hartleib filed a sur reply and on September 8,

2016, counsel for Ross-Wiltiarns filed a motion to srike the surreply.


Judicial Appt'wol of Settlewent, Attorney Fees, and Hxpewes

       On Novembet 22,2016, the          disfim court entered   a 33-pagc memorandum

decision in which it approved the substantivc portions of the proposed settlement.In
addition, the district court awarded attornoy fces and cxpfnses to ptaintiffs'counsel in the
amount of $450,000. In the memorandurn decisioq the district court reviewed the facts
and examined the terrns of the propoeed setttement in detail. In doing so, the district court

found that the prirnary purpose ofjudicial approval is to protect thc interests of the
sharcholdsrs of the corporation on whose behalf a derivativE action is brought Ttrc
disffict court also found that   is   role was to detenmine whether the proposed settlement is
fbir and reasonable under the circumstancee.


       The distict court found it to be significant that thc proposed comprehensive

settlement of the dcrivative actions did not include any monetary relief for the
corporation or its shareholderr-with the exception of the $5,000 incentive paymeflts to
the individuat plaintiffs to be paid from funds awarded for attorney fees and expenses.
Rather, the district court noted that the relief proposeFcoryorate govomance        rcfotms-
was therapeutic in nature. In turn, the district court reviewed eash of the proposed

corporete governance reforms as well as the opinion rendered by Dr. Tompkins in

support of such reforms.


       Ths district coun observed that .[i]dcally, these reforrns    will prevcnt [the Sprint
Corporationl from engaging in tmnsactions like the Sprint Nextel merger, and improve
post-merger pros€sses and activities." However, the disfict court found some of the
proposed reforms to have lirnited valuc and others to be primarily cosmctic in naturc.

Overall, the disttict sourt betiwed that the proposed carporate tfreforms may be far less

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effective than as portrayed by the parties . . " ." Ultirnately, the district court concluded
that th6 proposed sefilement "gives the narrow beneflt of promising to implement these
rcforms" and recognized "that some of the rsforms, as they would be for any corporation,
are in [the $print Corporation's] best interest and could help ensure its survival in the
ghort run.tt



        Although the disrict court ultimately appmved the substantive terms of the
proposed settlement, it found that the resulu achievEd did not justify an award of $4.25

miilion in attorney fees and €xpens6s. In reaching this conclusionn the disrict coun
thoroughly analyzed the requested attorney fees under the eight factors set forth in Rule
1.5 of the Kansas Rules of Professional Conduct. Again, the district coun found it to bc

significant that the counsel for the plaintiff,s had obained no monetary relief from the
defendants and that the corporate Eoverna$ce reforms that were attained provided only a
limited benefit to the corporation and its shareholders. In particular, the district court
found that &e reforms "dcpend nearly entircly on the will of the Board of Directors to
implement these changes, and maintain the rsforms for three years through the end of ttre
sunset provision."



        The disrict court pointed out that the derivative actions were stayed for the
majority of the tirne thcy were pending, that the parties had not canducted any discovery,
and &at the partics had filed no subetantivc motions prior to reaching tlre proposed

settlement. As a restrlt, the vast majority of ttre tirne billed in the derivative actions was
for document review and palticipeting in settlement negotiations. The district court found
the approximately u18,000    hours-or ?50 cumulative days of work*is         an astonishing
amount" in light of the limited results achieved. The district court was particularly
skeptical of the "[oJver 6,900 of those hours lthat] wsre billed by a single [purported]
attorney for document review services.* The p*son who purportedly worked almost
7,000 hourt on document     rcview-at   the rate of S300 per   hour-was held aut to be
"Alexsnder J" $ilow" and was identified     ae   being "of counsetn to the Weiscr Law Firrn.

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       Fufihermore, the district court found the billing records submitted for in camer&
inspection to be "deserving of sEong criticism." Evcn before it came to light that Silow

was actually a disbarred attorney, the district court astutely questioned the credibility                      of
the billing records submitted by the Weiser Law Firm for Silow's time. In the
memorandum decision, rhE district court discussed Silow's billing records-wtrich
includcd 550 time enfries-at lcng*r. In doing so, the distriot coult notcd that on most
days, Silow claimed to have performed document review                    l0 to 15 hours a day for an
average   of   12.6 hours per day. The      disrict court noted ttrat "[w]orking          14 hours a day, as

Mr. Silow's records reflect he did for 315 of the days in question, would msan that he
would be preforming doeument review from 6:00 AM until 8:00 PM every day, without
any breaks to eat mpals or attend to otfter personal matters. This is unbelicvable !"



       Based on its in camera review of the billing records, the disEict coult found:


       'Evern more shocking is the pattem of days that Mr. Silow claims he has worksd. From
       Novcmber 3, 201    I   through Fcbruary 4,   t0ll,   Mr. Silow wo*cd in Iivc lo   14 doy stints,

       widr one day gaps in bctween, all while bilting ovur l0 hours per day. Therc is       a month-

       long gap in lvlr. Silods biiling history from Fcbruary 5, 2012 ttuough March 5, 2012
       whcre hc presumably did notwork on this malter" Mr, $ilow rhcn bcgan working in fivc
       to 12 day stints frorn March 5,2012 through April 1,2012 ar rhe sarnc rigororx pcce,
       tnking one day offbeiween each stint,



                "Mr. Silow dretr workcd thc next 75 days, frorn April g,h}lzthrough Junc 23,
       2012 without taking any days off. This is not thc only rimc Mr, $ilow rceordcd his work
       in long stinB like this. He worked 55 days without a break in billing acriviry frorn
       Scptenrber30, 2012 through November          zl,z}ll.Aftoronty orc day off, ho nrorkcd 9?
      morc days wi&out a brtak in his billing activity frorn Novcmb*25, 2Sl2 through March
      2,2013.    Tltn, aflcr a period of no billing activity from March    3, 20t3 ttrough July 31,
      2014, Mr. Silow rccorded a finsl 118 day stint ofemtinual billing activity liom August              l,
      2014 through November 26, 2014.




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                    'The Court does not find that Mr. Silow's billing records       sne remotely accurate     or
         credible, The Court under$tands the rigorous naftrc of document roview, and that an
         attorney roldy occasionally log 14 hours for u shon stint of days         $   meet a dircovery

         deadline. Yet Mr. $ilow loggcd      3   l5   days over the coursc of the documcnt review \ryhere

         hc workcd 14 hours. Even thc most junior of arsociates, let alone an ettorney that bills

         $300   pr   hour, would not bc cxpcclcd to rccord l4-hour days, cvcry singlc day for hro to
         four rnonths at a clip.



                    'rMr. Silow's billing hislory casts   I cloud of doubt   that looms ovcr the vsraciry     of
         thc othcr bitliug records. Thc number of houn Mr.          Silo* claimr   he   workcd 6,905"25
         hotruen   which when multiplied by tho effrctiw biiling rate of $233 per hour rccults        in
         $1,539,870.?5 in fees, ar 36,23Yo of the requested fse rward. That ie over thrcc normal
         full.time 8-hour day wurk ycars exclusivcly on a staycd crscl Taking this into
         considoration, it seems that thc vrst Bmount of work pertbrmsd on this csse is illusory,
         pcrftape done for thc purpose of inflaling tho billabte bours [o push thc effective        billing
         r6ts down in orderto support a multi-nrillion dollarfes&ward.n



         Although Hartleib arguod in his objection that the district court should award no
attorney fees and 0xpen6es to plaiutiffs' counsel, the disrict coufi found that they "should

be   fairly compeosated for what rcforms they were able to aohieve, even if they f€ll short
of their original shot across the bow." In determining an amount that wouldbe fair and
reasonable, the district court noted that the results obtained in the derivative cases were

"far from exccllent* urd would result in only "negligible changes to [the Sprint
Corporationl, and margiml benefit, if any, m ie shareholders." Similarly, it found that

"the billing records reviewed by the Court paint a troublesome portrait of exptoiting
Sprint's rnissteps for a substantial reward for counsel, and minimal relief to Sprint and its
shareholders that suffered. "


Post-Hoafing Motions


        On December 16, 2A16, counsel for Ross-riVilliams filed a motion to alter or
amend the memorandum decision to clariS whether the disrim courr had approvcd

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payment of incentive awards to the plaintiffs. Four days later, counsel for Ross-Sfilfinms

filed a second motion to alter or amend the part of &e distict court's memorandum
decision addressing attorney fecs and 6xp$nse.s. In the second motioa to alter or amend,

counssl asked the district court to amend its previous order and grant the entire $4.25
rnillion originally requested      s$   part of the proposed settlernent, Thereafter; on December
21,2016, Harthib filed a rsqucst for an incsntivs award and reirnburs$ment of expenses.


       Attached to the second motion to alter or amend was another Declarstion from

George C. Aguilar of the Robbins Arroyo law firm.In this Declaration, Aguiiar assertpd
that the Robbins Arroyo law firm *overs&w the coordinated document review proeess by

the various derivative plaintiffs'corutsel." He stated that the various law firms

representing the plaintiffs in the derivative actions had used a computerized document

rwiew platform-known          ns   "Retativity"-fhat rscords user activity. Morewer, Aguilar
alleged thet computerrecords supported the hours Silow claimed to have worked on this

sase. In addition, he attached a computerprintout*that had not been previously

presented to the district   coufi-indicating that a "Silol, Ieflo had spert 6849.26 hours on
ttrc computer-purportedly reviewing documentu.


       Also *tached to the second motion to alter or ffnend was a Declamtion allcgedly
signed by "Alexander J. Silow" in which he represantcd to ttre disriet court ftat he was

'bf counsel"   at ftre WeiserLaw Firur and had bcen practicing law for over 40 yeaffi.

Silow also stated that he was a "member in good standing of the bars of the
Commonwealth of Pennsfvania and the Dis8ict olf,6lrrnbia." He claimed that

"[t]hroughout my forty-year carter! I have nevsr been accurcd of an ethical violation or
bem the subject of any disciplinary action." Finally, hs declarsd that the hours refleoted
on the Relarivity document review platform accurately reflected the time hc worked on
this casa.




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       The distriet court ruled on the pcnding motions in a memorandum decision filed
on January 6, 2017. In its ruling, &e disrict court clarified that it had intended to approve

the incentive payments of $5,000 to each of the named plaintiffs in the four derivative

actions when it approved the substantive portions of the proposed settlcment. The district
court also stated that "[t]he only specific exception to the approval [of &eproposed
settleme$t] rvas the reduction of the requested attomey fe€ award." Tuming to the

rcnewed attempts by plaintiffs' counsel to substantiatc their request for $4.25 million in

attorncy fees and oxpenses, the district court fourd:


               "Plaintiffls couneel ehould have oxpected strong criticism of Mr. Silo#s billing
       rccordr had [rhcyl bothcrcd to cxaminc the purported timc [heJ submitted as sperl on
       documentreview....


       "A cursoty gtaace at Mr. Silo#s billing recnrdc appropriately ca,ee a shadow of doubt
       over thc veracity ofthe bitling rccords in thcir cutircty. [Ths] alfidrvits docussnting Mr.

       Siloq/s time sprnt on [document revior] are wholly unpersuasive. Th*y do *upport that           it
       tskrs mercly a keysrokc of rctivity oncc cvety hour to kecp [thc cornputer progrsln]
       from timing out or logging offa sescion.


                flFruthcrmore, the Court dses not think it is ptopat to considpr thc Exhibits

       atrachcd to thc Plaiutiffs Motions to Alter or Amcnd thnt rslate to Mr. $ilow's time

       computaticn. By attaching the Affidavit to further bolster the veracity of the bilting
       rccortlc[,] coungel submitted    a rlocument that should have bccn   submired prior to thc

       Coutt's Mernorandum Decision. even though dre Caurt is ultimatcly unpersuaded by thc
       Exhibir . . . The Cour rllon'ed thc pnrtics and Objector followirrg the May 36, 2016,
       hraring to prc$ent additional inforrnarion requestcd by the Court so it would have the       ftll
       set of facts   tojusti$   thc requested foe award, By continuing to allow partics to submit

       informrtion in a piecemcal fashion allma decision hss been rcndsrcd sels       a bad

       precedent   thst./ould open tbe door to additionsl rounds of doctmsnt submiscions. . . .
       Plaintifs csunscl had ampte oppofimity to substantiate all of their tirne rssord$ when thc
       Court rcqu*tcd tha rscords for in camera rwisu,. Even though Plaintl$r counsel was
       sccmingty blindsided by the Court's miticiem and ouutiny of thc rtque$ted informotion, a
       ctu.cory look   rt Mr. Silo#s billing resurds ehould have been metwith equal criticiam by
                                                       22
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            counsel !fiaking the submission in thc first insnnce or at least given them peuse   is
            rcconsiderfte zufficicnry of their submission to the Ccurt.'


        Accordingly, other than the clarification regarding the incentive payments to the
plaintiffs named in the derivative actions, the district court denied the motion$ to attcr or
amend filed by counsel for the plaintiffs. In addition, ttre district court denied Hartleib's

request for an incentive award and reimbursemsnt of expenses. Although tlre district
court recognized that an "Objector plays an important role in the Court's obligation to
revieir and approve derivative case settlemene and dismissals," it found that there was
no agrsemsnt r$ched by the parties and drat there is no Kansas statute that would

authorize it to grant Hartleib'e request"


Appeal and Rematld to District Court


        Hartleib initially filcd a notics of appeal on December 21, 2016, from the district
cout's order approving the scttlement. Following the district court's ruling on the second
motion to alter or amend, counsel for Ross-lffilliarns filcd a notice of cross-appeal from
the district cout's award of attornsy fces and expsnsss. Thereafter, Hartleib filed an
amended notice of appeal from the district courtts denial of his rcquest for an incentive
asrard and reiurbursement of expenscs.



            ln a disturbing development, Robert B. Weiser sent a letter to thc district              court-
as   well   as a similar letter to the   Clerk of the Kansas Appellate Courts-on February 3,
2Al7.In his letter to the district court, Weiscr stated that he had "lEarned that a person
who had held himself out - . . as Alexander J. Silow {'Silow') was in actuality named
Jefty       M. Silow, and more importantly, that Mr. $ilow is not a licenscd Pennsylvania
attom€y in good standing, having been disbarred in Pcnnsylvania in 1987." Tireiser
iadicated that Silow had been "of counseln urith the Weiser Law Firm for'nthe past
decade" after being recommerded te the law firrn hy a recruiting agency in 2008.


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         Interestingly, although 8re r€sum* of Sre Weiser Larv Firm*which is part of the
record on appeat-listed "Alexarder Jeffrey $ilow" as being "admitted to practice in
Pcnnsylvania and the Disrict ofColumbia"" Silow's rdsumd*which was attached to
lfeiseCs letter-listed his name as "Jcffrey $ilour" and did not state that he was a
mernber of the Pennsylvania bsr. Instead, Silo#s resume only listed thc District        of
Columbia under the heading "Bar Admissions." In a foon:ots to his letters, Weiser stated
thst "it app€ars as though Mr. Silow has also been suspended from thc practice of law by
the   Distict of Colurnbia"" We note that the District of Columbia subsequently disbaned
$ilow from the practice of law on Deccmber 21, 201'l . ln re J*,fi'ey M. Silow,l75 A.3d
88 (D.C. 20r7).



         Weiser evidently continues to believe that $ilow acrually performed the work

reported in the billing records submittsd to the diskict court. Nevertheless, Weiser
recognized in his letter "that Mr. Silow had been held out as an active aEorney, end that

Mr. Silow's declaration, signed urder ponalty of perjury, statcs, inter alia,that he is a
licensed attorney in good standing that had ncver been the subject of any disciplinary

action." Henco, Weiser acknowledges that $ilow's "declaration is therefore false in
matcrial rospects," and as a result, the'Vfeiser Law Firm-which served as the lead
counsel in this derivative action-"witrl not be participating in any recovery thar may

result frorn thc pending Cross-Appeal."


         Although we will yield to the disciplinary authorities in thc Commonwealth          of
Pennsylvania-or clsewhere'-to sort out what the attonreys representing the plaintiffs in
these derivative actions knnrr or should hnve known about the status of Jeffrey $ilow's

license to practice law, we find the information provided by   1Ve   iser to be very   foubling.
As indicatcd above, the hours billed by Silow constituted a substsntial arnount of the total
hours allegedly worked by counsel for the plaintiffs in these dcrivativc actions. Thus, we
agreo   with Weiser that his law firm should not receive any of the sttorney fees      and

o(penses awarded in this case.

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        In light of the revelations regarding $ilow's status as an efiomcy, we granted
Hartteibh request to stay Bris appeal. On March 30,2017, the case was rerlanded to the
disrict court to determine the impact-if any-that the new information regarding $ilow
might have on its decision to approve the settlement. On May I LZAl7,the district court
filed a rnemorandum decision in whieh it found that the new information simpty
confirmed its previously stated conoerns abnut the credibility of Silow's billing records.
As such, the district court concluded tirat the new information did not change its previous
decision, Aftsr receiving the disffict court's memorandum decision, we lifted the stay on

June 7, 201?, and established a new briefing schedule" Finally, on Febnrary I3,2018, oral

arguments were prescn ted.



                                            ANAtYStS


Ovetryiew of Derivative Actiorw    in   Kansas


       Class actions and derivative actions are both types of representative litigation that

involve similar procedures, Compare K.S.A. 2017        Supp   . 60-223 with K.S.A" 201? $upp.
60'223a, Although sharcholder derivative actions o{ten arise out of the same occurence
as shareholder class actions,   it is important to recognize that the nno   are separate and
distinct causec of action. While a shareholder class action is brought againsl a
corporation by a representiative acting on behalf of a partioular group of sharehoiders, a
shareholder derivative action is brought by a reprosentative on behalf of a corporation to
enforce a right that the corporation has failed to enforce. As this court has fbund, ,,[wJhen
a coryoration has been injured by the actions of those in control thereof, the well-
established generat rule is that the suit seeking to redress for such a grievance belongs to
the corporatisn and must be brought as a derivative action . . .   ."   Lightner v. Lightna., 46
Kan. App. 2d540,Sy1.fl 2,266P.3d i39 (201l)"




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       ln Kansas, derivative actions are controlled by ICS.A. 201? Supp.6il-223a- A
derivative action may be coffimenced by "one or more shareholders or members of          a

corporation or an unincorporated association" who "fairly and adequately rrpresent the
interests sf shareholders or rnembers who ara similarly situated in erforcing thc right      of
&e corporation or association.n K.S.A. 2017 Supp. 60-223a{a}. Petitions filed in
derivative actionc ar€ to be vorified and they must assert "that ths plaintiff was a
shareholder or member at the time of the transaction complained of, or that the plaintiffs

share or membership later devolved on it by operation of law." K.S.A. 201? Supp. 60-

223a(bX1). The veriiied petition also must assert "that the action is not a collusive one to
conferjurisdiction that the court would othenrise lack." K.S.A.     201 7 $upp.   60-
223a(bX2). Furthermore, the verified petition ffiu$t "stat€ with particularity" thE efforts
made by the plaintiff "to obain the desired action frorn the directors or comparabte

authority and, if necessary, from the sharetrolders or membsrs' as well as "the reasons for
not obtaining the action or not rnaking the ef"fort " K.S.A. 2017 Supp. 60-223a(bX3XA)
and (B).


       From a procedural standpoinl shareholder class actions and shareholder derivative
actions are similar in naturo. As in class actionso district courts have the authority to issue

"any appropriate orders" that are necessary to make sure that derivative actions arE
conducted fairly. K.S.A" 2017 Supp.60-223t(c). The purpose of this rule is to give
district courts the abitity to oversee derivative actions in order to prevent abuses by the
partiee and to protoct the interesh of those shareholders-or member$ of an

unincoqporated association-*urho are not parties to the lawsuit. See Balotti      & Finkelsteino
Delaware Law of Corporations and Business Organizations $ 13,19 (3d ed, 2018 Supp.)
(nThe purpose of [the nrle] is to give the Court a msans to meaningfirlly supervise the

derivative [action] and to provent abuses, such as paytng a plaintiffandl/or his counsel to
discontinue the action." ).




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         There is a strong public policy in Kansas supporting the voluntary settlement                      of
dispucd claims, Tilzer v. .Oavrs, Bethune &Jones,288 Kan. 477,496,2M P.3d 617
(2009). Nevertheless, similar to class actions, derivative actians "may be settled,
voluntarity disrnissed or compromiaed only with the court's approval." K.S.A. 201? Supp.
6fr-2234d). Atso similar to class actions, proposed settlements in derivative actions rnay
not be finally approved until proper notice has been given "to shareholders or members in
the manner that the court orders" in order to protoct their interests in the proceedings.

K.S.A. 201? Supp. 60-223a(d). As has been recognired by Delaware court$,

"[mJeaningful objections can help sn$urc the fairness of settlements in representative
actions." Brinctrerhalfv. Texas Eastern Products, LLC,9&6 &.2d,370,397 (Del. Ch.
20r0).


         ln   Qualiry Developers, Inc" v, Thorman,2g Kan. App. 2d 702,7A5,31 P.3d 296
{2001), this court noted the role of t}re district court in reviewing a proposed settlemcnt                      of
a derivative actiou, stating:


                  "The role of the court is ro see that thc rompromisc is fair and reasonablc under
         thc circumstances and 0ut no collusion or li'raud has bccn practiced in the consummation
         of rhe sett,tcmeflr. To do this ttre corut muntwoigh the pobabiliticn and the poesibilitics   of
         victory or dcfe*t as indicated by thc legol or factual sinration presentcd. If such
         considcrntion$ lead to the conclusion that the setttement agrecd upon by the plaintiffs in
         the suit ie not   urfsir or unreasonable io the corporation (in which all the other
         stockholders have their interert), then the action of thc plaintitth in compromising the suit
         should bc approvcd.u' 29 Kan, App" 2d st 716 (quoting ltinkclnan v. Genaml Motarc
         Corporation,43 F. Supp. 490,493 [S.D.N.Y. lS42]'


         We also note that the Delaware coruts-which have a gr€at deal of experience
handling derivative actions-have found that in reviewing a proposed settlement a court
mu$t balancs the public policy favoring settlement with the need to proteut tho interests

of &e corporation and its shareholders. $ee /N re Activkion Blizzard,Inc. Litigation,l24


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A.3d    1025   ,   1043   (Del. Ch. 2015) (quotiug Barkan v. Arnsted Industries, hrc.,567 h.Zd
12'19,1283 [De[. 1989J). In the case of /n re Activisian Blizeard, Inc, Litigation, the court

hcld:


         "Thc settlcment of rcpresentative litigrtion , , , 'is unique because the fiduciary nafirre   of
         tbs fiitigationl rcquires the Court . . . to participate in the consurnmatioa of ths
         ssltlsmenr . , ,' Prezont v. Da Angelis, 636 A,2d 915, 921 (Dcl. 1994). The potcntiul
         divergence berw'een the personal interests of the atiomeys conducting the litigation and
         the intcrests of the class or corporation they rcpresrnt meafii that'the Court , . . rnu$t , . .
        play thc role of fiduciary in iu revicw of thest senlements. , . ,' ln   rc   Resorts lntN

         S'holderc   Litig Appeals,5?0 A.zd 259,266 P,sl. 1990),ln carrying out this role, tbc
         court'must balsnce the policy prefoeacc for settlcmcnt against tle necd to insure that the
         interesta of the class [or corporation] have becn fairly rrpresented.' Barkan v, Anwted

         Indss., finc.,567 A.2d l2?9, t283 (Dal. 1989).. t24 A.3d IM243,


         Ultimatsly, "[aJlthough the standards *nd procedurs$ for review and approval                        of
settlements vary, in general the [reviewing court] is required to scrutinize the proposed

ssttlemsnt to ensure that it is fair to the personc whose interests the court                   ir to protect,"
Herr, Annotated Manual for Complex Litigation, Fourth $ l3:14 (201?).


Standing and Subiect Mattev Jurisdiction


         Before we examine the district courtrs apprcval of the settlement &greement? we

must addrcs$ the threshold question of standing. In particular, we must deside whether
Ross-Wiltiams has standing to pursue this derivative action in light cf events that
occuned after this lawsuit rvas filed. Althotrgh it does not appear that Hartleib is
challenging Ross.Williams'standing to initially file this aetion on bshalf of the Sprint
I'{extel Corporation, he docs contsnd that shc lost standing to pursus this derivative action
as a result    of the rnerger between SoftBank and the Sprint Nextel Cnrporation while the
derivative actions were pending.In response, ptaintitTs'counsel conteuds that Ross-
Wiltiams continues to have standing and that Kansas doen not have a continuing-

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ownership requiroment. On the other hud, dcfense counsel contends that whethcr Ross-
Williams continues to have standing is arguably an open question under Kansas law.
Rcgardless, defense counsel arg$es that the fact that the issue is disputed is actually a
factor weighing in favor of approving the settlEment.


       Standing to bring a lawsuit is a component of subject matterjurisdiction and may

be raised by the parties or the court at any rtma Vorhees v. Baltazar,283 Kan. 389, 3970

153 P.3d 1227 (200?). Likewise, the qucstion of standing is one                   of law overwhich we
have unlimited review . Mid-Continent Spacrafists , Inc. v. Capital Hames,2?9 Kan. 178,
185, 105 P.3d 483 (2005). To have stmding, a perty must have a sufficient personal stake
in the outcome of a case to justiff court action to resolve the matter. Yarney Bwiness
Sentices,Inc. v. Potrrotfi2?5 Kan" 20, 30, 59 p.3d 1003 (20CI2).


       InFV-[, Inc. v. Kallevig,306 Kan. 204,212,392 P"3d 1248 (201?), the Kansas
Supreme Court found:


               "'lJnder Kansas law, in order to establish standing, a plaintiffmust show thst            (l)
       hu ar she suffercd a cogniable injury and (2) there is a causal connection bctwecn the

       tqiury rndthe challcngcd conducl.' $olomon v. $lcta, 303 Kfln. 512, 521* 36+P.}d 536
       (20 t5). A ccgrrizoble iqiuqy ie established by showing a ';xrsoral interedt in e court's

       decieion and   ftat hs or shc pcrsonally suffers some actual or thrcatuned iqiury rs a rerult
       of the shallenged conduot.' 303 KEr.     *   52t (quoting $fena Club    v. Moset,298 Kan, 22,

       33, 3 I 0 P.3d 360 [20   l3]]. Moreover, '[tJhc injury mrst   be partiarlarized"   i.e, it must
       afrcct dre plaintiffin a operconntr and indivirlual way,"' 298 Kan. at I123."


       K.S.A. 2017 Supp. 6&223a(a) provides that a derivative action may be
commenced by oone or more shnreholdcrs . . . of a corporation"'who "fairly and
adequately represent the interests of sharcholders . , , who are similarty situated in
enforcing the right of the corporation " . . ." Similarly, K.S.A. 2017 $rrpp. 60-223a(b)(1)
rcquires that a plaintiff bringing a derivative action must assert in the verified petition


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ttmt he or she "wa$      &   shareholder . , . at the tims of thc transaction complained of, or that

the ptaintiffs share . " . later devolved on it by operation of law." As this court has

prcviously held, the "provisions [of K"S.A.6A-221*] read in tnndsm require that the
plaintiffbe    a shareholder at the time of dro harm to the corporation and at the time the

derivativc action is filed," Howover, "[n]othing in dre statutory language rnandates the
party bringing ths derivativs action continus as a shareholder after liling suit." Srriti v.
Roger Snritft & Sons, lnc., No. 105,456,2012 WL 21481?3, at                     i7   (Kan. App. 2012)
(unpublished opinion); see also White ex rc\. 8,W.               il,   L"L.C. v. Earbier{ No. 106,0?8,
2012 WL 39ffi527,at *4 (Kan.App. 2012) (unpublished opinion) (applying the same
rationale to a derivative action filed on behalf of an LLC).


       Although we recoguiae ttrat some jwisdictions have adoptcd a continuing-
owuership rcquirement in derivative aetions, we filtd that the plain and unambiguous
langu*ge of K.$.A. 2017 Supp. 6$-223a does not include such a requirement. As this

court hcld in Srnidr:


                  "Wcr€ we to accept the invitation to impose such s mandatory requiremcnt undcr
       K.S.A. 201I Supp. 6&223a, rve would be addingjudicial gloss inconsistsnt with thc clear
       Et&tutory language the Ksnsas Legirlatue hm a&ptcd. That ia not          t   proper judieial

       funetion. Courts are not ta emborr $tm$es with additional lenguagc or disrcgard
       languagc rlready thcrs uvcn       if they mny think thc changcr better advancc the public
       policy bchind the legislrrion. .ftohirson v, CiS af Wichita Ratiremant Bd af Trustees,Z9l
       Kan. 266, Syl. !f 6, 241 P.3d I 5 (201 0) (Thc cout \rrill not spcculate on legislative intent
       and    will not rcsd the   [statuuoryJ provisio,n to Edd something not reedily found in    it,);
       Unruh v. Purlna Mills,289 Kan. I185, 1201, 2?l P.3d I130 (2009) (rejccting an
       argument tlut'asks the court to read into the staute language that is not present'). The
       Kansas Suprcme Coun encapsulatsd the rulo of interpretation this         way: 'A suhrtc should
       not be rcad to add that which is not contained in the language of ths statuts or to read out
       what, as a msttsrof ordinary language, is included in the snmt€.' Casc'o         t.   Azrrlnur   fivift-
       Eckrlch,z83 Ken. 508, Syl.11 6, 154 P.3d 494 (200n. We deoline thc invitation.              [f
       nquiring a ptaintiffro octn stock during the cource of litigation reflects thc bertcr


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       mousefxp of shareholder dcrivative ections, the Kanrns [*gish&rre rfiust build   it,'   2012
       WL 2148t73, at *7.


       We find the rcasoning of $adtlr to be sound based on Kansas law. Quite sirnply,
"[wJhen a $tatute is plain and unnmbiguous, a court rnust give effect to its express
language, rather than determinE what the law should or should not be." Pattersonv.

Cowley Couttty, Kansos,30?       Kan.       ,413 P.3d 432, 43S (2018). As such, it is not the
role of this sourt to add a continuing-ownership requirernent to K.$"A .2017 $upp. 60-

223a- Thus, we do not find tlrat Ross-Willianrs lost standing as a result of the msrgsr

transaetion hetween SoftBankand the Sprint Nextel Coryoration.


       We pause to noto that even in jurisdictions such as Dclaware that recogniza a
continuing-ownership requircment, there arc certain cxceptions ta the general rule that a
plaintiffloses standing to maintrin a derivative suit where the corporation merges with
another company. Sae Arkilnsas Teacher Ret..Sy,rlem v. Caiafd,996 A.2d 321,322-23

{DeI.2010). Likswise, we notc that Delawme courts have approvsd derivative
settlsmcnts in cases in which there is a dispute rcgarding standing. See Erinckerhofi,986
A.2d at 383-84; In re Caremark Interu.Inc. Deriv, Lit.,698 A.zdg5g,g7zn.30 (Dcl. Ch.
1996). Coneequetrtty, a good-faith diepute orrer the ultimate outcome of a legal issue does

not prevent the parties frorn entering into a fair and reasonable settlement of a dsrivative
action. In fact, as ste urill discuss below, one of the relevant circumstances that a disnict
court may consider in determining whcther a settlement of representative litigation is fair
and rsasonabtc ineludes "whether serious qucstions of law and fact exist that place in
doubt the ultimate litigation outcomc." Coulter v. Anadu,ko Penoleum Corp.,296 Kan.
336, Syl. n8,292 P.3d 289 (2013).


       We also note that it appears that Hartlsib may be arguing that the $print Nextel
Co4nration is no longer the teal party [n interest in this case. Unfortunaiely, the coucepts
of standing and real pal:ry in inkrest ere often confused. See 6A Wright, Millcr, and


                                                 3I
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Kane, Federal Fractiec and Procedure: Civil 3d $ 1542 (2010]. Unlike standing,
objections to whether a party is the reat party in i$terest do not involve subject matter
jurisdiction and may be waived. $ee fialimson v. Kansas State High          Sch.   Activitles Ass'n,

260 Ka$. 136, 139, 917 P.2d 836 (19961; O'Donnell v. Fletcher, 9 Kan. App. 2d 491,
4Yl, 681P,2d 1074 (19S4). Here,        because no rsal party   in interest objecrion was filed
below, any objection on this ground has been waived.


Personal Jurisdictiott   atd   Yenue


       Additionally, Hartleib contends that &e bylaws of ttre new Sprint Corporation
rquire that derivative astions are to be filed in Delawarc. Regardless of whetherthat            is

true, a review ofthe settlement documents and public filings in the record in this case

rcflect that the Sprint Corporation participated in the settlement negotiations between the
parties-including mediation-and agreed to be bound by the terms of the
comprehensive se$tement ultimatsly rcached in the derivative actions. In fact" ths

substantive pofiions of the settlement agrtement are specifically based on changes in tbe
corporate govemanse and intcrnal conh'ols to be adopted by the Board of Dirsctors of the

Sprint Corporation. The sgttlernent agreement also provides that it is binding not only on
the named parties but also on "their respective agents, executorr, hcirs, successcrs, and
assigns."



       As previously noted, Sprint Communications,        Inc,-formally known         as the   Sprint
Nextel Corporation-is now        a   wholly owned subsidiary of   the new   $print Corporation.
Likewise, the former sharcholdcrs of thr Sprint Ncxtel Corporation who did not sell their
stock for cash have received stock in the new Sprint Corporation in cxchange. In
addition, the new Sprint Corporation becarne thc successor registrant to the Sprint Ncxtel
Corpora*ion under Rule 129-3 of the Securities Exchange Act of 1934. Thus, we
ccnclude that the Sprint Corporation has submitied*either voluntarily or as a $uccessor
to the Sprint Nextel Coryoration-to the jurisdiction of Kansas soufis and has also agreed

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that the terms of ttre settlement agreement s,re to be enforced under laws of the State         of
Kansas.



Approval of Settlement by District Coart


            Hartleib further contends &at &e disric,t court erred by approv&g the substantive
tarms of the settlEment between the parties, $pecilically, Hartleib argues that the tcrms            of
ths settlement approved by the district court provide only illusory relief to the corporation

and its shareholders. Not surprisingly, the parties to the settlement agr€omeflt ate now

atlgned in their betief that the substartive ternrs of the scttlement agreement are fia,ir and
reasonable.



            In light of the represcntative nature of bo{r class actions and derivative actions-
as   well   as the   similaritics between thc judicial review provisions set forth in K.S.A. 2017
Supp. 50-223{e) and K.$,A- 2017 Supp. 60-223a(d}*we find that it is appropriate for
l(ansas appellate sourts to review a distict oourt's approval of a sottlsment in a derivativc

action under an abuse of discretion standard. Although the Kar$as Supreme Court has not
expressly addressed the standard of review of a district court's approval of a setttement in
a derivative aetion,      it has apptied an abuse of disuetion staodard to appetlate rcview of
class action settlements. Coulter,296 Kan. 336, Syl.        tl6. We also note 0rat Delaware
appellatr courts utilize an abuse of discretion standsrd in reviewing the approvrl         of
settlements in bcth class actions and derivativc actions, SeeMentor Graphics Corp. v.
Shapiro, EIS A.2d 959, 963 (Del. 2003); see also Pollc v. Good,50? A.2d 531, 536 (Del.
1986) ("When a settlement has bccn approved as fair and reasonable we must find the

evidence so strongly to the contrary as to amount to an abuse of discretion.").


        Although Coulter lryas a class action case, we note that our Supremc Court quoted
the fotlowing language fromJoa€s v. Nuclaar Pharunacy, 1hc.,741 F,2d 122,3?.4              (l0th
Cir, 1984), which involved an appeal from a fbderal dietrict courtfs approval of       a


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settlement agreement in a derivetive actiorl in addressing the types of factors a reviewing
court should consider:


       "'In asscseing whetrcr the seslement is fak, reesontble and adequare thc trial court
       should conslder:
               (l)   whether &e proposcd settlerncnt was fairly and honesily negotiated:
               (2) whether serious lJucstiors of law rnd fact exist, placing thc ultimare outcoms

       of thc litigation in doubt;
               (3) whetho the valuc of an immediatc recovcry outweighs the mrre possibility       of
       ftture relief rflcr protracted and expensive litigrtion; and
               (4) thc judgrnent of the parties that &e eettlcmemt is foir nnd rmsonable.'" 296
       Kan. ar358-59 (quotingJbues, T4l F.ld at324).



       We find that a similar analysis is appropriats in both elass acrions and derivative
actions. We also frnd that Hartlcib-as the appellan[--bears the burdeil to establish that
the disfict court abussd its discretion in approving the settlement in this derivative
action. See Coaltsr,296 Kan. at 357 (citiug Harsch v. Miller,288 Kan. 280, 293, 200
P.3d467 [2009]. Fwtherrnore, ws {iad that in order to establish an abuse of diacretion,
Hartleib must show that the district court either welrt t'outside the framework" for the
judiciat approval of settlements $r lhiled to consider proper legat standards. Coulter,296
Kan, at 357 (siting Farrar v. Mobil Oil Corp",43 Kan. App. 2d 871,876-77,234 P.3d                       l9
[2010]).


       ln orderto comply with its.duties undar K.S.A, 2017 Supp.60-223a(d), a district
court muot indcpendcntly scrutinizc a pmposed settlsment of a derivative action-as well
as the sunounding circurnstancss that led to the          settlement*to determine whether it is
fair and reasonable. Horrever, similar to a dass action, there is not a specific list of
factor:s that must atways be ussd by a district court in approving a proposod settlement in
a derivative action- As our Supreme Court hae recognized, to reqtrire a epecific              list of
factors might encourage a district court "to make a rote recitation af the mandated list in


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lieu of performing a logical and independent analysis of all of the relevant circumstances
affccting   a   particular settlement." Coulter,296 Kan. at 359.


       A review of the record in thc present case revs&ls that the district court took its
responsibilities under K.S.A. 2017 $upp. 60-223a(di very seriously. Following a final
settlcment hearing axrd substantial post-hearing briefing by the parties as well as the

objcctor, the district court entered a comprehEnsive Memorandum Decision in which                         it
approved the substantive terms of the proposed sEttlernent. Frorn reading the

Mtmorandum Decision in light of the record on appeal, we have no doubt that the distrist
court firlfilled its obligation to independartly analyze thc circumstancee sunounding the
propored settlement.


       In its analysis of the subntantive terms of the proposed settlement, the dis&ict court
not only looked to caselaw, it also appropriately looked to Frinciples of Corporate
Goyernancc, $ 7.14 (1994)-cntitled "Settlement af a Derivative Action by Agreement
Between the Plaintiffand a Defendant"-for guidance. $ection ?.14(b) of the trcatise
provides:


                  "The conrt should approvs a proposed settlemenr or olhcr dispositicn    if &e
       balance of corporate interesu w$r&nts approval and the scftlement or otfuer disposition is

       consistent with public policy.     ln auluating a prapasad settlement,   the court shoetld place

       special weight on    the   net barctlt, including pecunlary and nattgecuulary elements, to the
       corporutton " (Enphasio added.)



       The district court noted that the proposd ssttlement in tlris case did not include
any pscuniary or rnonetary benefit to the corporation or iE sharcholders. Rather, as the
district court recognized, the proposed scttlement provides "exclusively therapeutic relief
in the form of four major corporate govemancc rEforms . . . togsther with a substantial
                                                                               '\l[e pause
fee and expensc payment frornthe [Spriur Corporation] to Plaintiffs lawyers."
to note that n'therapeutic    relief is a term used       by Delaware courts-as well as by scme

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otlrer   jurisdictions-to refer to non-monetary relief.                 See   Notfingham Pdrfiers v. Dana,
564 A.2d 1089, 1102 (Del. 1989). Hence, the terms therapeutic relief, non-pecuniary

relief, and non-monetary rclief have the 6arne meaning and arc often used
interchangeably.


          As the district court observed "[iJt is difficult to assign an exact value to
therapeutic relief achieved in a Settlement" because "[a]ny vaiue achieved is speculative

and depends on a number of factors, ranging from decisions sf the [Board                          ofl Dire*tors to
market forces." Citing to Principles of Corporatc Oovernance $ 7.14, the dishict court
f,sund that in tevtoring retief in the               forn of corporate governqnce reforms, "it should
determine [whetherJ such measures represent more than 'corporate cosmetics' and are

likely to result in meaningful relisf that would not have occured but for                       a $e$lernent."

Although the district court found that most of the proposed corpomte reforms were
cosmctic in uaturg it ultimately concluded that some of the reforms provided a benefit-
if only slighFto the Sprint Corporation moving fonuard.


          The district cofft also appears to havs appreciated the potential problcms

associated with scttlements in reprrsantative litigation that ars primarily or cxclurively

based on non-mooetary relief such a$ corpoffite govenunce reforms.                          Dlstrict courts aeked
to spprove such scttlemsnB must be cognizant of the possibility of a conflict between the
asomeys represcnting the                  plaintiffin a derivativo aEtion      and the interests of the
corporation's sharehalders. As the Principles of Corporate Governance cautions,


          "the partics may cnter iato a scttlemcnt undcr which thc defendant$ axo not required to
          makc any finansial contribution and &a corporalion recciyes only cosmetic rclicf, but ilre
         plaintiffs sttorn€ys prolit handsomcly, In such a contoxt, tbe fact that the parties favor
          the settlement does not cariy thc usual assumnce that *re settlcmcnl rcflecB ihe parties'

         discomtcd estimatps ofthe likcly outcomc at rial,           and a   greatet,need{orjadiclal
          scnrtlrryr   af   the   propased settlement is ther{are e$dent.* (Emphusie added.) Principlc,r   of
          Corporate Oovernance $ ?.14, note c.


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       Unfortunately, non-rnonetary rElief such as corporate governance refonns "can
sornetimes represen! a means by which the palties can increase the apparent value of the

settlement and thereby justify higher attorney's fees for plaintiffs counscl," Principles              of
Corporate Governance $ 7.14, notc e. [n fact, the Principles of Corporate Governance
sotes that ernpirical research confirnrs &e increascd frequency of settlements itt

derivative actions that involvs liule or no mon€tary relief to the corporation or its
shareholders but include significant attorney fee awards. Principles of Corporate

Govenrance $ ?.14, Reportet's Note 5. As such, a district court must be particularly
diligent in exercising its duty to scrutinize a proposcd settlement in a derivative action
that includes an award of attorney fces hut does not include mcnetary relief for the
corporation on whose behalf the action ie commenced.


       A review of the record on appeal in this caso reveals that the district court wss
diligent iu exercising its dufy to scnrtinize the proposed settlement. In its Memorandnm
Decision, the distict court thoughtflrtly reviewed each of the proposcd corporate
governance rel'orms. The disuict court also compared thc relief requested in the veri{icd
pctition with that actually attained as a result of the proposed settlement agreemcnt. In
doing so, the district court dctermined:

                nWhen
                         comparing the requc*tod relief as.d ths rchieved rssults, &e S*tlcment
                                                         will benefit [the Sprint Corpor*tionJ.
       brings u mixed hag of retbnns tlrat thc portiss clsim
       After closely exrmining thun, howcvcr, the reforme may be frr less eflective than as
       portayed by the pf,rti€s in thcir filings and orrl statemcnt$ at rhc [fir*l scttlcment
       hearing] iu Mry.


                "The ultimate goal of the Scttterncnt is to prcveur [thr $print CorporationJ, in its
       sur$ilt sr {rturc itcrations. from rcruning to its old wnys. It givrs the narrov beneffr of
       promising to implemeut these reforrr$, but docs not include any pccuniary relief as
       rCIque$tsd   in lhe Pctition. Ths effectivonecs of the Scttlement depends on [ths Sprint
       Corporationl dutifully carrying out its rcsponsibilities under thc $cttlerncnt and
       irrylcm;ntlng thc rcformr to inrprovc [thu $print CorporationJ. Ees*rtinlly, Plaintifft

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       co$nsel was able to gct [the Sprint CorporetionJ to agree to conduct itself like thc

       telecommunications gient that it ie. The reforms achieved by tho SEttlcrileut arc progrnms
       and guidelines that [&e Sprirt Corpomtion] could irnptement on     ie own for Oe sake of
       thc corporation'$ ou,n sun'ival. As such, they are not unfair to tlrc corpomtion.   fire Court
       docs rccognizc that some of the rcforms, as they would bc tcr ary corporation, are in [thc
                                                                                                o
       $print Corporation'sl bcst intcrcst and could hulp ensure iu eurvival in thc short run


       Thc district court agrscd with many of HartleiU$ concerns rsgarding the proposed
settlsment. Although it found that the proposed settlement "could, should and might have

soms benefit to [the Sprint Corporation]        if honestly imptemented        and rigorouely
followed," it atso detsrmined that the ssttlement was "mostly illusory, with the most
benefisial a$pect being only those reforms to [the $print Corporation'sJ Board                  of
Directors and Committee composltions." The district court also pointed out that thc
propcsed reforms were to sunsst in tluee yeer$ and could end after two years if the Sprint

Corporetion provided appropriate notice to its shareholders. It also found that somc of the
rcforms are redundant to policies already in place or that should already be in place at any
Iarge tcleconrmunicatior corporation.



       The district court ultimately found that the Sprint Corporation's "promise to bring
in outside DirEctors to make up the mqiority of ths Board and Finance Committee, and to
comprise the Compensation CornmificE of solely outside Directars is the only trrrly

beneficial refornr within the Settlemant agreement " The disaict court nsted rhat "[r]ad
*rc Settlemcnt lacked this provision, the Court would be inelined to reject such an
illusory Settlernent cntirely. But this refonn, unlike noady all of rhe others, has the
potential to bring about positive change to [thc $print CorporationJ moving fontrard."
Thus, the district court-albeit reluctantly-approved the substflntive tsrms of the
settlement relating to corporate gov$rnanco reforms.


       Despite Hartleib's argumerts to the contrarlr, we find no evidence in the record
that the substantive portion of dre settlement agreanent was the result of fraud or

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collusion by the pa*ies. Moreovern we find the substantive teflns of &e proposed
sefilement agreement to have been fairly negotiated by the partie$. In particular, we find

it significant that the parties reached the agreement qrith the assishnce of an experienced
mediator who worked with the parties ovsr a period af several months. Likewise, we find
tltat tlrere are disputed issuss of law-and pcrhaps of    fect-in   this case that would place
the ultimate outcoms of the litigation in doubt     if itwere to move fonrard.


         We, therefore, conclurde that the district court applied an appropriate legal

framework and considered thc propor legal standards       ir   reviewing the pmposcd
settlement agreement. We also conclude that the district court's approval of the

substantive portion$ of the settlemsnt relating to the corporate governance reforms to be
implemented by the Sprint Corporation wa$ reffionable. Finally, we conclude that the

district court did not abuse its discnetion.


District Court's Awatd olAttorney Fees and Expenses

         Hartleib also contends that under the circumstancss presented in this sass, no
arvard of attorney fees was wananted" On the other hand, counsel for Ross-Williams

contend that the district court erred by only awarding $450,000 in attoroey fees and
expenses instmd of the $4.25 million that thc parties tentatively agreed upon as part     of
the proposed settlement agreement ?hey argue that the requested arnount should have

been awarded in full because it was "proposed by a neutral and nationally recognized

mediator, and supportcd as reasonable by the record of the relevant factorc considered by
I(ansas courts in determining attorneys'fees." Defensc counsel tekes no position on this
issue.



         In Kansas, the allowance of afiomey fees and expnses ie a matter ofpublic policy
to be detcrmined by the Legislature. SeeJohnson v. lfiesthoffsand       Co,28l Kan. 930,
958' 135 P.3d t 127 QAAfl. In otherwords, a courtts cquitable powers do not extend to

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the awarding of attorney fees and expenses. Accordingly, Kansas courts maynot award

attomey fees or expon$es absent statutory authority or an agreement by the parties. Unruh
v. Purina Mills,289 Kan. I I85, 1200, 221P.3d I t3S t2009).

                                                                  naward
         Unlike K.S.A. 2017 $upp.6}-223(h)-which provides for the        [ofJ

reasonable attorney's fecs" in a certified class action-ttrere is no similar provision in

K.S.A. 201? Supp.60-223a. However, in the present case, the partiss agreed as part of
thc proposed ssttlement of the derivative actions that the Sptint Corporation would "pay
or causs to be paid to Plaintiffs' Counsel attorneys'fees and sxpens€s in the total amount
of four million two hundred fifty thousand dollars ($4,250,000) . . . subject ta approval by
the Courtn Thus, the district court had an obligation pursuant to IL$.A. ?017 Supp. 60-
223a(d)-as well      as under the express terms   of the proposed settlement agreemen[*-to

independently review the requested attorney fees and expense$ to determine if they were
reasonable.



          As we noted in the previous section of this opinion, there is "a greatornecd for
judicial scrutiny" in reviewing proposed settlement$ of derivative actions in     a case such

asthis in which no monetary relief ha$ been obtaincd. Principles of Corporate
Governance ?.14, note c. In such ca$es, there ir no fi.rnd from which to pay attorney
                $
fecs and expenses. lnstead, thc corporation thatwas allegcdly injured must compen$ate
ttre   plaintiffs'afrorneys. Likervise, scttlements of derivative actions in which only
nonmonetary relief is obtained "can somctimes rcprcsent a means by which the panies
can increase the apparcnt value of the scttlement and thercbyjusti$ higher attorney's fces
for plaintiffs counsel." Principles of Corporate Govemance $ ?.14' note e.


          In Kansas, district courts are cxperts on attorney fees and the factors set forth in
Kansas Rule of Professionat Couduct 1.5(a) (2018 Kan" S. Ct. R. 294) are to be used to
 evaluate the reasonableness of a request for attorney fces. $ee Westar Energt, fnc,      v"

 Wittig,44 Kan. App. 2d 182, Syl. 1[8, 235 P.3d 5tS (2010]. On appeal, we review both a
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disffict court's determination of the reasonableness of requested attorney fees end the
actual award of attonrey fees under an abuse of discretion standard, Dfilrrts v,                   Miller,269
Kan"732,748,7 P.3d            1223 (2000). "Although an appellate court is also an expert or: the

reasonableness of attomey fees, it          will not substitute    its judgment      for that of the district
court unless in the interest ofjustice such is ncce$sary." Wenrith v, Employers M*t. Ins.
Co.,35 Kan. App. 2d582,595, 132 P.3d 970 (2006) (citing Davis, 269 Kan. ar ?S1).
Hencc, "'[a]n attorf,ey fee award         will not be set aside on appeal when supported by
substantial competent cvidence,"' Freebird, lnc. v. Cimdrex Energs Ca.,46 Kan. App. 2d

63   l, 64 I , 264 P.3d 500 (201 I ) (quoting In rs l,{aniage of Burto4 29 Kan. App. ld M9,
454, 28 p.3d 427 [2001 ]).



          KRPC 1,5(a) lists eight factorc that courts are to consider when determining the
reasonableness of a fee:


                  \1)   the time and labor rcquired, the novclry antl difficulry of thc qu*tions

          involvcd, and rhe rkill rcquisitc to pcrform thc legal scnsisc propcrly;
                  .(2) the likelihsod, if apparrnt
                                                   to thc cliont, that the a{ssptsnco of the particular
          employmcnt will preclude other cmployrnent by the lawya;

                  "(3) the fee customarily charged in tho locatity for similar legal serviccs;
                  "(4) the amount involved and thc rcsult obteined
                  .(5) tho time limitstionr
                                            irnpoocd by the client or by thc circumstances;

                  '(6) the naotrc and length of the prof'cnsional rolationrhip with thc clieng
                  "(D thc cxperience, reputation, aad ability of the lawyer or lcwyers performing
          the services; aud

                  "(ff) whether the fee is fixed or contingenf."


          We note that these factors are v€ry similar to the factors recognized by our
Supreme Coun in determining the amount of attomey fees to be awardcd in a class

action. See ,9}utts v. Phillips Petroleum Co.,z35 Kan. 195, Syl.                 {   14, 679 p.2d l159
(198a); sec also Gigot v. cities serryice         oil co.,24l      Kan. 304, syr" n2,73T p,zd lg
(reE7).

                                                       4l
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        In the Memorandum Decision entered on November22,20i6, the district court
examined each of the eight factor$ $st forth in KRPC 1.5(a) when making           is ruling
regading the rcasonableness of rhe requested attorney fees.


        First, the disuict court recognized r$at a derivative action can be "notoriously
difficult   and tmpredictabtc." However, the district court noted tlrat the   four derivative
actions that are the subjcct of this settlement were stayed shortly afier they were filed. As

a result, the parties did not conduct   fonnal discovery nor did thcy file substantive motions
prior to entering into the proposed scttlement agrcrment. Rathnr, the attorncys and their
staffs primarily performed document review, consulged with their expefi witnees, and
participated in settlement negotiations*including the three rnediation sessions. Thus, the

time and labor required in thEse derivative actions was substantially less than the time
and labor required in representative litigation that is aggressively titigated.


       Moreovcr, based on a review of the billing r*cords submitted to it for in camera
inspection, the district court found the amount of time billed-approximately t8,000
hours or ?50 curnulative work day*-was "astonishing" for the rype of legal ssrvices
performod. In particular, the district court was troubled by the nearly ?,000 hours billed
by $ilovr at the rate of $300 per hour'. At the tirae, the dietrict court did not know that
$ilow was a disbaned attorncy. However, the district court's €oncems regarding Silow's
credibility proved prophetic based on thc eubsequent revelarion that the Commonwealth
of Pennsylvania had disbaned him from the practicc of law in t9BT.


       Furthermore, we must accept tho disfict court's frndings regarding the billing
records submitted to it for in camcra inspection as bcing correct since thsse records havE
not been provided to us-under ssal or otherwise-a$ part of the rccord on appeal. A
party asserting that a district court has ered must dosignate a record sufficient to $upport
its arguments and to establish its clairns on appeal. n'When facts are necessary to an

argumentn the record must supply those facts and & party relying on those facts must

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provide an appellate courtwith a specific citation to the point in the record where the fact
can be verified," Friedman y. Kom.rc,r State Bd. of Nealing Arts,296 Kan. 636,644,294

fJd   28? (2013); see also Supreme Coun Rule 6.02(aXa) (2018 Kan. S. Ct. R. 34).


       Second, the disf ict court recognized that class actions srd derivative actions can
orequire a great deal of work, and bocause of this, attorneys (or sometimes entire firms)

are unable to take on other matt€rs." However, it also noted that the professional services

provided in the four derivative actions that aro included in this settlement did not "comc
close to ttre intensityo ofwork that is often requircd in representative litigation" Likewise.
$e disfict court found it to be significant that counsel for the plaintiffe werc cnly able to
achievc "sorne cursory corporate govornflrce refonns that do not achieve any significant
financial relied, e.g. such as a claw-back provision aimed at [t]re Sprint Corporaticn'sJ
fonncr CEO, who aversaw the merger." In light of the nature of the profeenional services
provided and the fact that these actions were staycd for sevcral yaars, it is difficult to
envision how work on these cas€s precluded counsel from represcnting other clients.



       Third, thc distict court noted that it "is familiar with the hourly rates customarily
charged by business litigation attorneys in [Kansas CityJ." ln addition, the distict court
indicamd that   ii "is also familiar with the rates paid for'document rsvie$ companies and
f,or ailomeys doing that   limited tlpe of work in this arca." It recognized nthat services
wene perfomicd in California and Pennsylvania*states that on sverage have            significant$
higher hourly rates than Kansas City law tirms forsimilar work." Howevern ttre dis&ict
court also found that "[d]ocument review rates , . . are significantly lower than those that
businese litigotiotr counsel charge" and notcd that law firms "often rely upou temporary

staffing agencies to hire document rcview attorneye ryho eam from $25-50 per hour.n


       Fourth, thc disfiict court found*citing Gigot,Z4l Kan. at 315-that "[t]he most
important factor in assessing   t?re reasonableness   of a fee is the ultirnate result obtained."
Although it recognized that the corporate govemanoE reforms agreed upon by the parties

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prodded a limited benefit to the Sprint Corporation, the district court was concerned
about the fact that othey depend nearly entirely on the   will of the Board of Directors to
implement these changes, and rnaintrin the reforms for threE years through thc *nd of the
sunset pmvision." In fac( as indicated above, the corpomte Sovemance reforms can

actually bc rnodified or terminated after only two ysars so Iong as the $print Corporation
provides "notice [of the modi{icxion or termination] on the Investor Relations page        of
Sprint,com.n



       Again, the disbict court found it signiticant that the settlement lacked a "finsncial
componfft" and "expressed strong concern rcgarding the enforceability of the
$ettlcment" because "[t]here ie no clear mechanism for shareholders to Enforce thE
                                                                      nthe                   of
corporate governfice refbrrns." In fhct, the disrict court found that      enf,orcement

the Se$lement by shareholders would likely require another derivative *uit shouid [the
Sprint Corporation] fail to implement the reforms or violate any of them." As such, the
district court found the results obtainod to bc only "modEtately commendable" and that
they require the Sprint Corporation to do "thp bare minimum of what is expected [of a
rnajor corporationl and nearly nothing mor€."


       Nonrithstanding, the   disri*   court did not accept Hartleib's contsntion that the
rcsult obtained "is so nominal ttrat [the attorneysJ are not entitled to any award." Instead,
the district court determined that "[wlhile the,Court is skeptical of the actual benefit

confen'cd to [the $print Corporation] that would warrant a $4.25 million fee eward,
Plaintiffs counsel should be fairly compensated for what raforms tlrcy wsre able to
achieve, even if they fell rhort of their original shot across the bow." The district court
noted that even tlrough the derivative actions were stayed while the shareholdsr claes
action was ongoing in federal court, counsel for *rc plaintiffsnfspent some amount of time
and energy on this matter, despite it being stsyed while the securities litigation was
ongoing," Specifically, the district court identified the coordinatian and performance       of


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document reviav, prepamtion for the three mediations, and retention of an expert

witness.



        Filth, the district court found that there wera no pressing time limitations impascd
by the stient or by the circumstancos, llle agree and find tiris to be particularly true in
light of the fact that no formal discovery was ccnducted and no substantive motions wsre
filed prior to the parties entering into the proposed settlomsnt agreement. Rather, these
derivative actions were staycd for several yoars. As such, other than document review,
legal research, and settlement negotiations-including participation in rnediation-the
parties were primarily waiting for the resolution of the related shareholder clars action

filed in federal court.


                                                      nhas
       Srxr&, the district court found that there            been a significant relationship

botween Plaintiffand counsel for ths duration of this case." It also found that there were

similar rolationships botween the attomeys and cliente in the other dcrivative lawsuits
arising out of the m€rgor. Thc district court rcjected Hartleib's contention that there was
no tme relationship between Ross-lffilliams and her attorneys. Although it does appesr
from the record that Ross-Williams' rols in this cas* was limited, the district court
appropriately recognized that "[rv]hile 8re structure of n derivative suit is non-traditional,
there still is an attorney-client rolationship benrreen [the attomeys and theJ shareholder

plaintiffs bringing   a   derivative lawsuit against a Board of Directors.n


        Seventh, the   disrict court noted tlre experience of the law firnrs representing the
plaintiffs in the four derivative actions. Moreover, at ths time the district court entered the
Memorandum Decision, it had "so qualms about tire capability or repuurtion of Plaintiffs
counscl." Of course, since that time, it has come to tight that nearly ?,000 hours out of thc
approximately I8,000 hours billed were pcrformed by a disbaned attomey being billed at
the rate of $300 per hour. However, the district soufi was able to consider this new
information on remsnd and decided &at dre outcome would not have changed because it

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had already considered Silow's credibitity in its original order regarding attorney fEes and

expense$. Thus, we     will not substitute   our judgmcnt for that of the        disfict court regarding
the overall experience, reputationn and ability of the attorncys representing the plaintiffs.


       Eighth, the district court noted that "[aJ law firrn undertakss a significant risk
when handling complex litigation on a coutingcncy basis" and that "[dJerivative suits are

notoriously risky because there is an exfemely small likelihood that such actions would
succeed at   fiial." Hovucver, the disrict coufi also pointed out that a corrtingency fee is
normally "paid by the client from the [monctary] recovery." Of course, in this case there
is no monetary recovery fi"om which to p*y attorney fces and expen$es. Thus, although

the district court detennincd that counsel for the ptaintiffs should receive $ome amount                   of
attomey fees, it did not find the amount requested to be appropriate "rvhen the fEe is to be
paid by the derivative client carporation that suffered the alleged harm in ttre first place.n


       Ultimately, the district court concluded:


                "Thc Court rejoou the requcstcd $4,25 million fee award. The rcsults obtaincd in
       the Scttlemenl ar€ not commsu$urate with thc fee requestcd. An unjustifrably high fec

       award with rcspcct to the minimal relief obtained abuses thc tnrst of the shareholders.
       Furthermore, the billing records rcviemred by the Court paint a fi)ublesonrc portrait   of
       exploidng [the Sprint Corporation's] missnps for   a eubstsntial reward   for coumel, and
       minimum rclicf to [the Sprint Corporrrion] and its shareholders that zuft'ercd. The bllling
       records submiued furthennore lack credibility. The focus apperrs to hsve been upon an

       easy, cheap settlcment in thc first instmce. No motion praetice or serious discovcry

       efforts rrcrc cvcr undcrtakcn to addrcss thc egrcgious aets originally allcgcd against thc
       individual Dafendants who wcrc responsible for rtre losses to [the $print Corporationl.
       The Coun approve$ a Settlcment that allows Plaintiffs sounsel a rcasonable     fff   ard thcir
       expsnsc$ Iimiled to the toral ail:ount of 3450,000."



       Based on our review of the reEord on appeal in tight of Kamas laur, we do not                     find
the district courtns decision to approve attomey fees and cxpensss in the amount                    of

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S450,000 to be an abuse of discretion. Instsad, wc find that the disrict court thoughtfully
reviewed the exhibits presenteq diligently anatped the factors set fofih in KRPC 1.5(a),
and seriously considered the arguments presonted by thc pafiios as well as those

presented by the objector. Furthermore, a revierv of the record reveals that the findings

mads by ttre district cowt are supportcd by subsuntial competent evidcnce.



Motion to Alter or Amend


       Nearly a month after the district court had rendered its decision regarding thc
reasonableness of fees and expen$e$, counsel for ttre plaintiffs fiIed a motion to alter or

amendthis portion of ttre judgmentunderK.S.A. 2016 Supp.60-259(f). $pecifically,
plaintiffs'counsel sought to submit additional svidence they claimed confirmed the hours
billed by Silow. A dcclaration signed by a partnor in the Robbins Arroyo finn asserted
that his firm had coordinated the document review and a software progmm calted

"Relativity" had bEen used to keep "logs of user activity, including witltout limitation:
*Total Usagc Time,"Views,'
                           'Distinct Viewt,"Edits,' ['JDistinct Edits,'and'#
Docrunents."' According to the declaration, a user begins a session when hE or she logs in
to the Relativity program, and wiil he timed out automatically after tpproximately 62
minutcs of inactivity.


       Attachcd to the declaration was a document from &e Relativity program
purporting to show the activity of "$ilow, Jeff' during document review" Horvever, this
evidence had not been submitted to the district colrrt prior to tlre entry of its order
awarding attorney fses and expenses, As such, the district court    deteffiine&citing
Antrim, Piper, Wenger,lnc. v. Lawe,3? Kan. App. 2d 932,939, 159 P.3d 215            (200?)-
that it was not appropriate for it to consider thE declaration or the attachments after it had

already ruled on the issue of attorney t'ees and expensEs. We agree with the disrict court.




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       We review challenges frorn the denial of a rnotion to alter or amend undcr K.S.A.

2017 Supp. 60-259(0 for abusc of discrction. Cut{er v. .Sa.rins&i, 34 Kan. App. 2d 647,

649,1.22 P.3d405 (2005).The purpose of a motion to alter or amend under K.S.A. 2017

Supp. 60-259(0 is to allow a district court to correct a prior elror'. It is not an opportunity
to present additional evidence that could havc been prcviously sulrnrirted. Scc,4rf im,
Piper, Wenger, lnc.,37 Kan. App. 2d at939. Hence, it is proper fur a di.strict court to
deny a motion to alter or amend      if   the movant could   have-with reasonablc diligcnce-
presented the a'gument or evidence before the entry of the final order. See Wenrich,35

Kan. App. 2d at 590. Here, there was no showing that the additional evidence was
previously unavailable to present to the district court.


       We note that, in the altemative, tl:e district court also found that cvcn    if it wcrc to
consider ths additional evidcncc submittcd [:y counsel, tlrc "affidavits docurncntirrg Mr.
Silow's time spent on Relativiry are wholly unpersuasive." The district court went on to
point out "that it takes merely a keystroke of activity once every hour to keep Relativity
from timing out or logging offa session-" fn otherwords, as the district court asrutely
noted, simply hitting a key oll one's eomputer every hour does rrot equate to actually
reviewing documents. Accordingly, we do not finrl that the district court abused its
discretion in denying the motion to alter or amcnd filed pursuant to K,S.A. 2017 Supp,
6o-2se(0.


Hanleib's Request fitr   h-ees   or Sanctiotrs

       The final issue we must address is whether       Hartleib-in lris capacity   as an

objector-is entitled an incentive fee or expense reimbursement. According to Hartleib.
objectors who provide a meaningf'ul assistance in a derivative action should be entitled to
reco\rer their reasonable expenses. Although we do not disagree witlr this sentirnent, this

is a public policy matter to be decided by the Legislature and not by the courts. As
indicated above, Kansas courts simply do not have the authority to grant a request for              i
                                                                                                    I
                                                                                                    I




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       fces and expenscs without statutory authodry or an agrcerncnt of thc parties. Scc Urrnrlr,

       289 Kan. at 1200.



           ..t'There is no doubt that Hartleib   has perfbnned a vatuable seruice    tbr the Sprint
       Corporation and its slrareholdcrs in t.lris uasc" and we comrncnd hinr for doing     so"

       Although u,e rccognize that objectors like Hartleib can play an important role in thc
       rcvicw of proposed scttlcrnents, we are aware of no statutory authority in Kansas that
       would allow a disttjct court to grant an objector an incentive fee, attomey fees, or
       expenses in a derivative action. Moreover, notwithstanding the fact that Hartleib played a

       significant role in saving the Sprint Corporation and its shareholders literally rnillions of
       dollars iu attomey fees and expenses irr this case, it does not appeal rhat the corporatiorr
       has agreecl ro providc hinr wirh reinrburserrent



              Under dre appropriate circumstances, onE@r request the irnposition of sanctions
       ptlt'suant to K.S.A.2017 Supp.60-2ll against a person who ha.s abused the judicial
       proce$s. K.S.A. 2017 Supp. 60-211(c). Under K.S.A. 2017 Supp. 60-211(c), a district

       court can "impose an appropriate sanctiorr on any attorney, law tirm or party that violated
       the statute or is responsible for a violation corrmitted by its partner, associate or

       etnployee. The sanction may includc an ordcr to pay . . . rcasonable cxpcnses, includiug

       attorneyrs fees . . . ." A motion for.sancrions under K.S.A. 2017 supp     .60-2ll   "may be
       sered and fiied   ar any   time during pendency of the action, but must be filed not later
       than l4 days afier the entry ofjudgrnent." K.S.A.2An Supp. 60-21 l(c).


              Although this is possibly a remedy that l-Iartle ib could have pursuecl. it does not
       appear that he has filed a motion for sanctions under K.S.A. 201 7 Supp. 60-21 I . We note

       that Hartlcib gcnerically rcfercnce.s sanctions in various pleadings filed u'ith the district
       court as well as with this court. However, it is irnlrerative that one compiy with the
       requirements of K.S.A .2017 Supp. 60-21      I   to invoke the authority of the court to irnpose
       satrctiolts. Without a tintely filed nrotion pursuant to K.S.A. 2017 Supp. 60-211, neither

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the district court nor this court has the authority to irnpose sanctions. Tlrus, although wc
appreciatc Hartleib's efforts in this case, we cannot grant hirn the relief that he rcquests.


       Affirmed.




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                                       f{t7oo
Projecil Name:             Raintree Rd Laguna Hlll* Ce. 92653



Jph Dasgiption:


'1.   Prenarqtion
- $and, Scrape, fill, allareas where nscesgary before adding any paint


2. Bathrooms
- Paint area$ where here ie texture, with prinrer PVA sealer ( $hennin tMlliams).


- Apply paintwffit two coatrs ( whicft is the exieting cotor).


- Cautking all arsaE where there is texture and the sunoundirg of the doors, molding,

hseboards, and crosrn molding.


3. Paint two cabineto in the bathroomE{ includes PHP, and paint}.


4. Paint ftve doors with primer and the finish color that is existing( which is the white
cdor).


Dm+tqll:
- Fix Dryrvall that   iE   bad (enfiance of the master bedroom) and fix the texfuro.




FirEt Flopr:
- Paint ereas where there is texture ( the patchos) which are in the kitchen and also the
dining room, which includes baseboards, crnwn molding.


-Painttheceilingof thediningroom, kitchen, laundryroornandtheftontenfanceof the
hallway and also the garage hatlway.
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- $and and paintthe panel( wood frim) the otisting color.


- Paint the office next to the front enhance ( spadficalty area uvhere the windovup ere
located).

'Any   change in oolorwill be Extra ( laborend materia$.




Material Labor   :
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PtplEqt,NBmE,;            RdnhEe Rd Laguna Hills Ca. 92653


Job Desoigion:

Qgleide of the huse:

- Pressure washer he yrhole house bafore applying the paint.

- Repair stucco eraee that may havo crecks and also match the exieting ctucco.

- Repair wood with bondo or replae the wood but first asking tfre owner(    r,vhlch   would

be sxtra labor and malerial).

- Caulking ffre sunourdings of the windotr{s,dootB, wood to stucco

- preparation which include sanding , scraping , filling and putting primer before the

finish paint

- lncludas painting   iro ganage doors (cotor that is necessary).
- Painting the wood patio( arsas located in ilre backyard) and replacing sorne pieces of

rircod that are neossary.

* Any
      change in colorwill be Extra { labor and rnaterial)



!,*Abor and   Material:   .

Cost:
